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                          UNITED STATES DISTRICT CO URT
                          SO UTHERN DISTRICT O F FLORIDA
                           Case No.16-61200-CIV-W ILLIAM S

  M ERISSA VULPIS,

        Plaintiff,

  VS.

  CREDIT ACCEPTANCE CO RPO RATIO N,

        Defendant.
                            /

                                O RDER DISM ISSING CASE

        THIS MATTER is before the Courtupon the Padies'jointstipulation ofdismissal
  with prejudice. (DE 16). Upon review ofthe stipulation and the record,itis hereby
  ORDERED AND ADJUDG ED thatthis case is DISM ISSED W ITH PREJUDICE,each

  party to bear its own costs and attorney's fees and costs. AII pending m otions are

  DENIED AS MO OT. AIIhearings,trialsettings,and deadlines are CANCELED. The

  Clerk is directed to CLO SE this case.

        DONE AND ORDERED in chambers in Miami,Florida,this Q                  day of
  Septem ber,2017.




                                              KATHLE N M .W ILLIAMS
                                              UNITED TATES DISTRICT JUDG E
